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 1   MARIO N. ALIOTO, ESQ. (56433)
     LAUREN C. CAPURRO, ESQ. (241151)
 2   TRUMP, ALIOTO, TRUMP & PRESCOTT, LLP
     2001 Union Street, Suite 482
 3
     San Francisco, CA 94123
 4   Telephone: (415) 563-7200
     Facsimile: (415) 346-0679
 5   E-mail:    malioto@tatp.com
                laurenrussell@tatp.com
 6
     Lead Counsel for the Indirect-Purchaser Plaintiffs
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10                               UNITED STATES DISTRICT COURT
11
                             NORTHERN DISTRICT OF CALIFORNIA
12
                                        OAKLAND DIVISION
13
     IN RE CATHODE RAY TUBE (CRT)                )   MDL NO. 1917
14   ANTITRUST LITIGATION                        )
                                                 )   Case No. 07-cv-5944-JST
15                                               )
     This Document Relates to:                   )   INDIRECT PURCHASER PLAINTIFFS’
16                                               )   ADMINISTRATIVE MOTION TO
     Indirect Purchaser Class Action             )   CONSIDER WHETHER ANOTHER
17
                                                 )   PARTY’S MATERIAL SHOULD BE
18                                               )   SEALED PURSUANT TO CIVIL LOCAL
                                                 )   RULES 7-11 AND 79-5(f)
19                                               )
                                                 )
20                                               )   The Honorable Jon S. Tigar
                                                 )
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        INDIRECT PURCHASER PLAINTIFFS’ ADMINISTRATIVE MOTION TO CONSIDER WHETHER
     ANOTHER PARTY’S MATERIAL SHOULD BE SEALED PURSUANT TO CIVIL LOCAL RULES 7-11 AND
                          79-5(f); MDL No. 1917; Case No. 07-cv-5944-JST
             Case 4:07-cv-05944-JST Document 6304 Filed 09/06/23 Page 2 of 3




 1          Pursuant to Civil Local Rules 7-11 and 79-5(f), the Indirect Purchaser Plaintiffs (“IPPs”)

 2   hereby move the Court to consider whether material designated as confidential by defendant

 3   Chunghwa Picture Tubes, Ltd. (“Chunghwa”) should be filed under seal.

 4          IPPs have reviewed and complied with this Court’s Standing Order Governing

 5   Administrative Motions to File Materials Under Seal Before District Judge Jon S. Tigar (Mar. 14,

 6   2022) and Civil Local Rule 79-5, including the requirement to file separate motions if a party seeks

 7   to file under seal a document containing “portions that more than one party bears the burden of

 8   showing is sealable.” Civil L.R. 79-5(f)(5). This motion relates solely to materials designated

 9   confidential by Chunghwa. IPPs are filing the following documents designated by Chunghwa as

10   “CONFIDENTIAL” under the terms of the Stipulated Protective Order, ECF No. 306,

11   provisionally under seal:

12          Material/Document – Page/Ex. #                           Designating Entity
13    Gray highlighting on pages 4, 5, 7 of Indirect    Chunghwa Picture Tubes, Ltd.
      Purchaser Plaintiffs’ Opposition to Irico
14    Group Corp. and Irico Display Devices Co.,
15    Ltd.’s Motion for Summary Judgment
      Gray highlighting on pages 10, 11, 13, and 15     Chunghwa Picture Tubes, Ltd.
16    of Declaration of Mario N. Alioto in Support
      of Indirect Purchaser Plaintiffs’ Opposition to
17    Irico Group Corp. and Irico Display Devices
      Co., Ltd.’s Motion for Summary Judgment
18    (“Alioto Decl.”)
19    Exhibit 1 to Alioto Decl.: gray highlighting      Chunghwa Picture Tubes, Ltd.
      on pages 13-14 of Motion for Terminating or
20    Alternative Sanctions dated March 20, 2023
      Exhibit 45 to Alioto Decl.: CHU00030661-63        Chunghwa Picture Tubes, Ltd.
21    (Chinese original and certified English
      translation)
22
      Exhibit 48 to Alioto Decl.: CHU00102864-65        Chunghwa Picture Tubes, Ltd.
23    (Chinese original and certified English
      translation)
24    Exhibit 55 to Alioto Decl.: CHU00102751-64        Chunghwa Picture Tubes, Ltd.
      (Chinese original and certified English
25    translation)
26    Exhibit 56 to Alioto Decl.: CHU00047657-74        Chunghwa Picture Tubes, Ltd.
      (Chinese original and certified English
27    translation)

28                                               1
        INDIRECT PURCHASER PLAINTIFFS’ ADMINISTRATIVE MOTION TO CONSIDER WHETHER
     ANOTHER PARTY’S MATERIAL SHOULD BE SEALED PURSUANT TO CIVIL LOCAL RULES 7-11 AND
                         79-5(F); MDL NO. 1917; CASE NO. 07-CV-5944-JST
                Case 4:07-cv-05944-JST Document 6304 Filed 09/06/23 Page 3 of 3




 1    Exhibit 64 to Alioto Decl.: CHU00031044-46        Chunghwa Picture Tubes, Ltd.
      (Chinese original and certified English
 2    translation)
 3

 4          Civil Local Rule 79-5 governs the filing under seal of documents in civil cases. In

 5   compliance with Civil Local Rule 79-5(f), IPPs submit this Motion in order to file (a) material

 6   designated by Chunghwa pursuant to the Stipulated Protective Order, ECF No. 0306, as

 7   “Confidential” or “Highly Confidential”; or (b) references to or quotations from material or data

 8   designated by Chunghwa pursuant to the Stipulated Protective Order as “Confidential” or “Highly

 9   Confidential.” IPPs seek to file the above material under seal in good faith in order to comply with

10   the Protective Order in this action and the applicable Local Rules. Under Civil L.R. 79-5(c) and

11   (f), the parties that contend the material they have designated is confidential in nature bear the

12   burden to establish that the designated information meets the requirements for sealing. See

13   Kamakana v. City of Honolulu, 447 F.3d 1172, 1178-80 (9th Cir. 2006). IPPs understand that,

14   given the Court’s direction at the hearing on Direct Purchaser Plaintiffs’ November 19, 2021

15   sealing motion (ECF No. 5966), the designated materials subject to this motion may not qualify

16   for filing under seal. IPPs were unable to contact Chunghwa prior to filing this motion because

17   Chunghwa is bankrupt and is no longer represented by counsel. Accordingly, IPPs respectfully

18   submit this administrative motion pursuant to the Stipulated Protective Order and Civil Local Rule

19   79-5(f).

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     Dated: September 6, 2023                      By: /s/ Lauren C. Capurro
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                                                   Mario N. Alioto (56433)
22                                                 Lauren C. Capurro (241151)
                                                   TRUMP, ALIOTO, TRUMP & PRESCOTT LLP
23                                                 2001 Union Street, Suite 482
24                                                 San Francisco, CA 94123
                                                   Telephone: (415) 563-7200
25                                                 Facsimile: (415) 346-0679
                                                   Email:     malioto@tatp.com
26                                                            laurenrussell@tatp.com
27                                                 Lead Counsel for Indirect Purchaser Plaintiffs
28                                               2
        INDIRECT PURCHASER PLAINTIFFS’ ADMINISTRATIVE MOTION TO CONSIDER WHETHER
     ANOTHER PARTY’S MATERIAL SHOULD BE SEALED PURSUANT TO CIVIL LOCAL RULES 7-11 AND
                         79-5(F); MDL NO. 1917; CASE NO. 07-CV-5944-JST
